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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

FLORIDA DEFENDERS OF THE
ENVIRONMENT, a Florida not-for-profit
Corporation, BRUCE KASTER, and
JOSEPH LITTLE,
Plaintiffs,
v. Case No. 3:17-cv-01128-J-20JBT
UNITED STATES FOREST SERVICE,

Federal Defendant.
/

ORDER

THIS CAUSE is before the Court on “Federal Defendant’s Motion to Dismiss and
Associated Memorandum of Law” (Doc. 25), “Plaintiffs’ Response to Federal Defendant’s
Motion to Dismiss and Supporting Memorandum of Law and Motion to Strike Amended
Administrative Record” (Doc. 28), and “Federal Defendant’s Reply in Support of Federal
Defendant’s Motion to Dismiss and Response to Plaintiff's Motion to Strike” (Doc. 30).

I. BACKGROUND

The subject of the above-captioned lawsuit is the Kirkpatrick Dam, Rodman Reservoir,
and Eureka Lock and Dam (collectively referred to herein as the “Rodman Dam”) located, in
part, in the Ocala National Forest. The construction of the Rodman Dam was completed in 1968
as part of the larger Cross Florida Barge Canal. The Canal was subsequently deauthorized by
Congress in 1991. The property interests held by the U.S. Army Corps of Engineers, and the
structures built and completed for purpose of constructing the Canal, including the Rodman

Dam, were transferred to the State of Florida. (Doc. 1, 43; Doc. 25, pg. 2). Because, according to
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the Complaint, approximately 167 acres of land, together with part of Kirkpatrick Dam and
Eureka Lock are located on land owned by the United States, the State of Florida was required to
apply for a special use permit. (Doc. 1, { 3).

Plaintiff Florida Defenders of the Environment is a non-profit organization in Florida
focused primarily on the “preservation, protection, and restoration of Florida’s freshwater
resources,” environmental initiatives and conserving public lands (Doc. 1, { 10). Plaintiff Bruce
Kaster is a lawyer and member of the Board of Trustees for Florida Defenders of the
Environment. Plaintiff Kaster frequently recreationally visits the land at issue in this matter (/d.,
4 §12-13). Plaintiff Joseph Little is the Vice President of Florida Defenders of the Environment
and a law professor.!

In 1994, the State of Florida first applied to Defendant United States Forest Service
(“USFS”) for a special use permit to occupy, at least portions, of the Rodman Dam. (Doc. 1, pg.
2; Doc. 1, J 3). A “permit” is defined by the United States Department of Agriculture, Forest
Service Regulations as “a special use authorization which provides permission, without
conveying an interest in land, to occupy and use National Forest System land or facilities for
specified purposes, and which is both revocable and terminable.” 36 C.F.R. § 251.51. Florida’s
permit application was granted; and the permit issued in 1994.” By its terms, the 1994 Permit
was to expire in 1998. Nevertheless, according to USFS, it was extended twice by USFS, before
finally expiring in 2002. (Doc. 25, pg. 3).

Defenders assert that the extensions were given to allow the Florida Department of

Environmental Protection, (“FDEP”) to “adhere to the implementation schedule for partial

 

' The Plaintiffs will be collectively referred to herein as “Defenders.”

* The 1994 Special Permit will be hereinafter referred to as the “1994 Permit.”
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restoration of the Ocklawaha River. Restoration never occurred, and [the 1994 Permit] was never
renewed. Today, FDEP is occupying Ocala National Forest both without a permit and in
violation of the terms of the original [1994 Permit], long since expired.” (Doc. 1, { 4).

USFS, in contrast, describes the 1994 Permit as being extended on two occasions for
three reasons: (1) to enable analysis under the National Environmental Policy Act; (2) to allow
consultation between USFS and the U.S. Fish & Wildlife Service; and (3) to allow for a decision
to be made on Florida’s renewed permit application. (Doc. 25, pg. 3). According to USFS,
Florida applied for a renewed permit in 2002, which was approved by USFS, causing the 1994
Permit to lapse. Florida did not sign the 2002 permit draft, thereby causing it to lack validation.
USFS recounts that it had a similar interaction with the State of Florida in 2010, whereby it sent
a draft permit to the State, but it never returned a signed copy to USFS as required.? (Id.).

In December of 2016, Plaintiffs Kaster and Little filed a Petition for Rulemaking with the
Secretary of Agriculture and the Chief of USFS, requesting the issuance and implementation of
rules to enforce the terms of the 1994 Permit; and the issuance of rules to “redress the continuing

failure of USFS to manage the Ocala National Forest in a manner that furthers the desired future

 

3 Defenders contends FDEP’s refusal to complete the process required for special use permits
was part of its larger dereliction of the land at issue in this case. Specifically, Defenders alleges
that the FDEP “refused to accept the permit” issued by the USFS in 2002 (Doc. 1, { 30), further
noting, “Although the basis for refusing the new [permit] terms is not explicit in the rejection of |
the same, upon information and belief, the basis for refusal was because FDEP did not want to
comply with the terms that required restoration on a scheduled basis.” (/d. at n. 14). With regard
to the 2010 draft permit, Defenders recounts,

[a]s part of the condition for the issuance of the new [permit], the
USFS drafted an operating plan for the maintenance of the portion
of the Kirkpatrick Dam located on USFS lands, as well as lands
inundated by Rodman Pool. Critically, the USFS also required
FDEP to execute the newer [permit] within thirty (30) days of
March 19, 2010. FDEP refused.

Id. at 37.
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conditions, goals, and objectives of the Forest Plan for the National Forests in Florida.” (Doc. 1,
{ 33). USFS denied the Petition in March of 2017. Defenders contend the denial of the Petition
was disconnected from the history of the matter, applies the wrong law, and does not address the
fact that the 1994 Permit does not authorize renewal. (Doc. 1, § 36). In June of 2018, after the
institution of this action, USFS issued a revised denial letter based on different grounds.
II. CLAIMS

On October 10, 2017, Defenders brought this action seeking declaratory and injunctive
relief with the aim of preventing additional damage to, and ensuring the restoration of, the Ocala
National Forest. Specifically, Defenders seek the Court’s assistance in addressing the “ongoing
destruction of the Ocklawaha watershed stemming from the dredging of the Cross Florida Barge
Canal, and the construction and ongoing maintenance of [the Rodman Dam].” (Doc. 1, ¥ 1).
Defenders allege the Kirkpatrick Dam has impounded the Ocklawaha River, causing critical
ecological injuries. Jd at J 2.

Three of the five counts in Defenders’ Complaint revolve squarely around the 1994
Permit; specifically the lack of enforcement of the 1994 Permit and the use of the Rodman Dam
by the State of Florida without a permit. The Defenders allege: “[t]he inaction by the USFS as to
enforcement of its own regulations has spanned over fifteen (15) years since the 2002 expiration
of the [1994 Permit], and has spanned over seven (7) years since the final determination and
lapse of the FDEP’s application for renewal.” (Doc. 1, § 82).*

In Count I of the Complaint, Defenders allege USFS violated the Federal Land Policy

Management Act, 43 U.S.C. § 1761(a)(1), and applicable regulations, 36 C.F.R. § 251.50-65, by

 

4 For reasons explained herein, the Court does not reach the issue brought to the forefront by
Defenders’ theory of the case summarized, in part, here—the effect of application of the statute
of limitations.
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allowing the FDEP to occupy a portion of the Kirpatrick Dam, Eureka Lock and federal lands
without a valid special use permit; and that this lack of action is “arbitrary, capricious, and
otherwise not in accordance with applicable law under the Administrative Procedure Act, 5
U.S.C. § 701 et seg.” (Doc. 1, § 51). In Count III, Defenders allege that the (expired) 1994
Permit contained terms and conditions that require compensation for damage done to natural |
resources by the permit holder, removal of structures on the land, and require restoration of the
land by the permit holder. (Doc. 1, 77). Defenders claim the failure of USFS to enforce the
terms of the 1994 Permit against the FDEP is agency action unlawfully withheld and
unreasonably delayed under the Administrative Procedure Act (“APA”), 5 U.S.C. § 706(1).
Similarly, in Count IV, Defenders allege USFS’ failure to enforce its regulation, 36 C.F.R.
§251.60(h)(2)(i), which outlines actions taken “upon revocation or termination of a special use
authorization,” in the face of the expiration of the 1994 Permit likewise constitutes action
unlawfully withheld or unreasonably delayed under the APA, § 706(1).° Count II of the
Complaint relies, indirectly on the 1994 Permit, but grounds its plea for relief on the denial of
Plaintiff Little and Kaster’s Petition for Rulemaking as “arbitrary, capricious, and not otherwise
not in accordance with law” under the APA, § 706(2)(a).°

USFS moves to dismiss all claims in this matter pursuant to Federal Rules of Civil
Procedure 12(b)(1) and (b)(6) on four, independent grounds:

(1) The APA does not authorize judicial review of the USFS’ denial of |
Plaintiffs Little and Kaster’s Petition for Rulemaking;

(2) Counts III and IV request action that the USFS cannot be compelled to
undertake;

 

> Count V requests mandatory injunctive relief. It is not a substantive count. See Doc. 1.

6 As previously outlined, USFS issued a revised decision letter in June of 2018 after the filing of
this action. Defenders did not move to amend the Complaint.

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(3) All of the Defenders Claims are barred by the Statute of Limitations;
(4) Count II is mooted by USFS’ June 2018 decision letter.
(Doc. 25). |
_Ill. ANALYSIS
The Federal Land and Policy Management Act does not provide a private right of action
against the United States. Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 882 (1990). Therefore,
Defenders alleged violations of this statute must be brought through the APA. See Id.; Marsh v.
Oregon Natural Res. Council, 490 U.S. 360 (1989) (reviewing an alleged violation of the
National Environmental Policy Act under the APA); RB Jai Alai, LLC v. Sec’y of Fla. Dept. of
Transp., 47 F. Supp. 3d 1353, 1364-65 (M.D. Fla. 2014) (applying the APA’s six-year statute of
limitations to an action brought under National Environmental Policy Act and Federal-Aid
Highway Act). “The APA’s comprehensive provisions for judicial review of ‘agency actions’ are
contained in 5 U.S.C. §§ 701-706.” Hill v. Grp. Three Hous. Dev. Corp., 799 F.2d 385, 396 (8th
Cir. 1986). Thus, to the extent the claims at issue are subject to judicial review, they are
reviewable under the APA.
The Court first addresses USFS’ argument that the Complaint should be dismissed
pursuant to Federal Rule of Civil Procedure 12(b)(1) because the Court lacks subject-matter
jurisdiction under the APA as this matter concems “agency action [] committed to agency

discretion by law.”’ § 701(a)(2). The question of whether an Agency’s inaction is subject to

 

7 Defenders argue that USFS’ motion to dismiss made pursuant to Federal Rule of Civil
Procedure 12(b)(6) should not be considered because it was made after the responsive pleading
was filed. (Doc. 28, page 6). However, as the Defenders themselves point out, “challenges to this
Court’s subject-matter jurisdiction may be raised at any time.” Jd; Smith v. GTE Corp., 236 F.3d
1292, 1299 (11th Cir. 2001).
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review under the APA is a jurisdictional question. Nat’! Parks Conservation Ass’n v. Norton,
324 F.3d 1229, 1236 (1 Ith Cir. 2003). See also Riverkeeper, Inc. v. Collins, 359 F.3d 156 (2d
Cir. 2004).

Likewise, the question of whether action by a federal agency is “committed to agency
discretion by law” is also a jurisdictional question that may be analyzed under Federal Rule of
Civil Procedure 12(b)(1). Conservancy v. Sw. Fla. v. U.S. Fish and Wildlife Serv., 677 F.3d 1073
(11th Cir. 2012); Salmon Spawning and Recovery All. v. United States Customs and Border
Enf't, 550 F.3d 1121, 1128 (Fed. Cir. 2008).

Because the Court is evaluating the portion of a motion to dismiss brought pursuant to a
Rule 12(b)(1) challenge, the Court is permitted to look outside the Complaint to complete its
analysis. See Lawrence v. Dunbar, 919 F.2d 1525, 1528-29 (11th Cir. 1990) (internal quotations
omitted) (explaining the difference between facial and factual attacks on subject-matter
jurisdiction and noting that in a factual 12(b)(1) motion “no presumptive truthfulness attaches to
plaintiff's allegations, and the existence of disputed material facts will not preclude the trial court
from evaluating for itself the merits of jurisdictional claims.”)

The APA “creates a basic presumption of judicial review [for] one ‘suffering legal wrong
because of agency action.’” Weyerhaeuser Co. v. United States Fish and Wildlife Serv., 139 S.Ct.
361, 370 (2018) (quoting Abbott Labs. v. Gardner, 387 U.S. 136, 140 (1967)(quoting 5 U.S.C. §
702)). An agency may rebut the presumption only if, the statute at issue precludes judicial review

or, relevant here, the agency action is “‘committed to agency discretion by law.’” Jd. (quoting 5

 

8 Defenders claim the Court has federal question jurisdiction as it alleges violations of the APA.
(Doc. 28, Section II). Nevertheless, judicial review is unavailable “‘to the extent that . . . agency
action is committed to agency discretion by law’” is a “limitation to the general grant of
jurisdiction contained in 28 U.S.C. § 1331”). ICC v. Bhd. of Locomotive Eng’rs, 482 U.S. 270,
282 (1987)(quoting 5 U.S.C § 701(a)(2).
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U'S.C. § 701(a)(2)).

Defenders allege the following actions (or, more aptly put, inactions) by USFS are
“arbitrary and capricious, and otherwise not in accordance with applicable law,” pursuant to §
706(2)(A): (1) allowing FDEP to occupy and operate the Rodman Dam without a valid special
use permit (Count I); and (2) the denying Plaintiffs Kaster and Little’s Petition for Rulemaking
(Count II). They also allege USFS’s failure to enforce its own regulations allegedly triggered by
the expiration of the 1994 Special Use Permit (Count III & IV) constitutes, “agency action
. unlawfully withheld,” and “unreasonably delayed” under § 706(1) of the APA.’ Defenders, do
not discuss the applicability of §§701(a)(2) to this case.

A unanimous Supreme Court recently explained:

[t]his Court has noted the “tension” between the prohibition of judicial

review for actions “committed to agency discretion” and the command in

§ 706(2)(A) that courts set aside any agency action that is “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with

law.” A court could never determine that an agency abused its discretion if

all matters committed to agency discretion were unreviewable. To give

effect to § 706(2)(A) and to honor the presumption of review, we have

read the exception in § 701(a)(2) quite narrowly, restricting it to those rare

circumstances where the relevant statute is drawn so that a court would

have no meaningful standard against which to judge the agency’s exercise

of discretion....

The few cases in which we have applied the § 701(a)(2) exception

involved agency decisions that courts have traditionally regarded as

unreviewable, such as the allocation of funds from a lump-sum

appropriation, or a decision not to reconsider a final action.

Weyerhaeuser, 139 S.Ct. at 370 (internal quotations and citations omitted).

The exception from judicial review contained in Section 701(a)(2) is a closely guarded

one, to be sure. But as the Supreme Court explained earlier this year, while the exception of

 

9 “TA] claim under § 706(1) can proceed only where a plaintiff asserts that an agency failed to
take a discrete agency action that it is required to take. Norton v. S. Utah Wilderness All., 542
U.S. 55, 64 (2004)(emphasis in original).

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§ 701(a)(2) is narrowly applied; it is still properly applied to “certain categories of administrative
decisions that courts traditionally have regarded as committed to agency discretion, such as a
decision not to institute enforcement proceedings, or a decision by an intelligence agency to
terminate an employee in the interest of national security. Dep ’t of Commerce v. New York, 139
S.Ct. 2551, 2568 (2019) (internal quotations and citations omitted) (distinguishing the taking of
the United States Census as an area not typically committed to the discretion of the Department
of Commerce).

The decision by an agency not to enforce or prosecute, whether it be through civil or
criminal process, is generally committed to that agency’s “absolute discretion” in recognition of
that determination’s “general unsuitability for judicial review.”!® Heckler v. Chaney, 470 U.S.
821, 831 (1985). That unsuitability, the Court explained is because:

an agency decision not to enforce involves complicated balancing
of a number of factors which are peculiarly within its expertise.
Thus the agency must not only assess whether a violation has
occurred, but whether agency resources best spent on this violation
or another, whether the agency is likely to succeed if it acts,
whether the particular enforcement action requested best fits the
agency’s overall policies, and indeed, whether the agency has
enough resources to undertake the action at all.

Id. at 831-32. In Chaney, inmates sentenced to death by lethal injection petitioned the Food and

Drug Administration (“FDA”) alleging the use of certain drugs for the purpose of lethal injection

 

10 Justice Alito, in his concurrence in Department of Commerce summarized a variety of factors
courts should consider in deciding whether the presumption established in favor of judicial
review have been rebutted, including: (1) whether the text and structure of the statute provides a
meaningful standard against which to judge the agency’s exercise of discretion; (2) whether the
matter has been traditionally committed to the discretion of the agency; (3) whether the action
being challenged is generally unsuitable for judicial review because it involves a complicated
balancing of a number of factors including judgments regarding the division of agency resources
or matters otherwise committed to another branch of government; and (4) whether judicial
review would be disruptive practically. Dep't of Commerce, 139 S.Ct. at 2597-98 (internal
citations and quotations omitted).
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violated the Federal Food, Drug, and Cosmetic Act. The inmates asked the FDA to take
enforcement action to stop the usage of the drugs. In holding the FDA’s decision not to take
enforcement action was not subject to judicial review, the Court noted the FDA’s stance on the
issue;

shares to some extent the characteristics of the decision of a

prosecutor in the Executive Branch—not to indict—a decision

which has long been regarded as the special province of the

Executive Branch, inasmuch as it is the Executive who is charged

by the Constitution to ‘take Care that the Laws be faithfully

executed.’
Id. at 832 (quoting U.S. Const., Art. II, § 3)).

: Here, like in Chaney, the heart of the Defenders claims are that the USFS abdicated its
responsibility by taking no action: by failing to enforce the terms of the 1994 Permit, and/or
renew it, and failing eject the FDEP from its occupation of the Rodman Dam. See Doc. 1 ({ { 46-
91). This action, as was the case in Chaney, is essentially an action to compel a federal agency,
to take an action soundly within the purview of its prosecutorial discretion. USFS, not the Court,
is best situated to determine whether the ejection of FDEP, for example, is the most effective
way to effectuate ecological restoration and “manage the Ocala National Forest in a manner that
furthers the desired future conditions, goals, and objectives of the Forest Plan for the National
Forests in Florida.” (Doc. 1, J 33). See also Webster v. Doe, 486 U.S. 592, 599-600 (1998)
(holding agency decision to terminate an employee because of national security interests
unreviewable under § 701(a)(2)); Salmon Spawning and Recovery All., (noting that to the extent
the agency violated the Endangered Species Act by not enforcing a ban, it was unreviewable
under § 701(a)(2)); Sierra Club v. Larson, 882 F.2d 128 (4th Cir. 1989) (holding that the

agency’s failure to enforce advertising directives of the Highway Beautification Act was not

reviewable); Elec. Privacy Info. Ctr. v. Fed. Trade Comm’n, 844 F. Supp. 2d 98 (D.D.C.

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2012)(holding an agency’s decision whether or not to act when a party violated a consent order it
signed with the agency was a “quintessential enforcement decision,” not subject to judicial
review). Cf Weyerhaeuser, 139 S.Ct. at 370 (holding that an agency’s decision not to exclude
certain lands from designation as dusky gopher frogs’ critical habitat “involved the sort of
routine dispute that federal courts regularly review: An agency issues an order affecting the
rights of a private party, and the private party objects that the agency did not properly justify its
determination under a standard set forth in the statute.”).

The Court finds various modes of enforcement of the 1994 Permit, to be “one of those
areas traditionally committed to agency discretion.” Dep't of Commerce, 139 S.Ct. at 2568.
However, its analysis is not complete. Where a challenger can identify guidelines by which a
Court can be guided in enforcing a statutory scheme, they may overcome the presumption of
§701(a)(2). Chaney, 470 U.S. at 833-34.!! See also Dep’t of Commerce, 139 S.Ct. at 2568
(analyzing first that the administration of the census was not one of the areas traditionally
regarded as committed to agency discretion under § 701(a)(2) before then determining that the
statute at issue in the case was not drawn so that the Court lacked a “meaningful standard” by
which to judge agency action.”). The Chaney Court explained that a statute being administered _
may, in some cases “[withdraw] discretion from the agency and provide guidelines for exercise
of enforcement power.” Chaney, 470 US. at 834 (citing Dunlop v. Bachowski, 421 U.S. 560
(1975))(overruled in part on other grounds). See also Federal Election Com’n v. Akins, 524 US.

11, 20 (1998) (noting that while a decision not to bring an enforcement action for a violation is

 

'! Stated otherwise, agency enforcement decisions may still be subject to judicial review by
demonstration that “the substantive statute has provided guidelines for the agency to follow in
exercising its enforcement power.” Jd. at 834.

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typically not subject to judicial review, the Supreme Court was confronted with the Federal
Election Campaign Act that “explicitly indicat[ed] to the contrary.”).

Thus, the Court moves on to the question of whether the statutory scheme at play here
presents guidelines by which the Court’s review USFS failure to act with respect to the 1994
Permit or in its denial of the Petition for Rulemaking. Conservancy of Sw Fla., 677 F.3d at 1078.
USFS argues that there are no statutory enforcement guidelines to overcome the presumption
that this matter is committed to the discretion of USFS. (Doc. 25). Defenders do not address this
argument and do not cite any authority to overcome the presumption.

In Count I, (Doc. 1, § 47) Defenders cite to the Federal Land Policy and Management
Act, 43 U.S.C. § 1761(a)(1). However, that section, provides in part, that the Secretary “[is]
authorized to grant, issue or renew rights-of-way? over, upon, under, or through such lands
[within the National Forest System] for—(1) reservoirs, canals, ditches, flumes, laterals, pipes,
pipelines, tunnels, and other facilities and systems for the impoundment, storage, transportation,
or distribution of water.” 43 U.S.C. § 1761(a)(1). From a plain reading, it is clear that this statute
permits or allows USFS to take certain action. It does not require it to take any particular action.
Cf Dunlop, 421 U.S. at n. 2 (recounting that the statute at issue read that the Secretary of Labor
“shall” investigate a complaint, and if he finds probable cause to find that a violation of the law
occurred, he “shall” bring a civil action.).

The other substantive section of the Federal Land Policy and Management Act Defenders
identify USFS violated is 43 U.S.C. § 1765. Similarly, §1765 provides

Each right-of-way shall contain—

 

!2 The phrase “right-of-way” includes, “an easement, lease, permit, or license to occupy, use, or
traverse public lands granted for the purpose listed in subchapter V of this chapter.” § 1702(f).

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(a) terms and conditions which will (i) carry out the purposes of this Act
and rules and regulations issued thereunder; (ii) minimize damage to
scenic and esthetic values and fish and wildlife habitat and otherwise
protect the environment; (iii) require compliance with applicable air
and water quality standards established by or pursuant to applicable
Federal or State law; and (iv) require compliance with State standards
for public health and safety, environmental protection, and siting,
construction, operation, and maintenance of or for rights-of-way for
similar purposes if those standards are more stringent than applicable
Federal standards; and

(b) such terms and conditions as the Secretary concerned deems
necessary to (i) protect Federal property and economic interests; (ii)
manage efficiently the lands which are subject to the right-of-way or
adjacent thereto and protect the other lawful users of the lands adjacent
to or traversed by such right-of-way; (iii) protect lives and property;
(iv) protect the interests of individuals living in the general area
traversed by the right-of-way who rely on the fish, wildlife, and other
biotic resources of the area for subsistence purposes; (v) require
location of the right-of-way along a route that will cause least damage
to the environment, taking into consideration feasibility and other
relevant factors; and (vi) otherwise protect the public interest in the
lands traversed by the right-of-way or adjacent.thereto.

43 U.S.C. § 1765.

The Court finds USFS’ argument on this point persuasive. (See Doc. 25, pg. 10). Section
1765 does not provide enforcement guidelines to this Court. Moreover, to the extent one could
argue § 1765(a) provides guidance, that so-called guidance is based on wholly idiosyncratic,
non-quantifiable, and vague factors that are not within the Court’s purview. Chaney, 470 U.S. at
831-32. See, e. g § 1765(a)(i) (requiring each right-of-way to contain terms and conditions
“(ii)minimize[ing] damage to scenic and aesthetic values . . . and otherwise protect the

environment’) (emphasis added). Section 1765(a) does not provide enforcement guidance to the

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degree the Supreme Court in Chaney identified was outlined in the statutory scheme in Dunlop
or in the recent decisions of Department of Commerce or Weyerhaeuser.'?

The Court turns to the question of whether the regulations identified by Defenders
provide guidance for the Court. Defenders object to the USFS failure to initiate enforcement and
ask the Court to “enter a judgment providing the following relief: Adjudge and declare that the
USFS’s failure to enforce 36 C.F.R. § 251.60(h)(2)(i) constitutes “agency action unlawfully
withheld” and “unreasonably delayed.”’ (Doc. 1, Count III, J 68; see also Count IV, { 82(1),
Count V, § 91(3)-(4)). They maintain this is violation particularly acute because the 1994 Permit
contains a provision that mandates compensation for damage to natural resources by the permit
holder, requires the removal of structures built on the land by the permit holder, and directs the
restoration of the land by the permit holder; and such remedial action has not been taken. Jd.

Section 251.60(h)(2)(i) provides:

Upon revocation or termination of a special use authorization, the holder

must remove within a reasonable time the structures and improvements

and shall restore the site to a condition satisfactory to the authorized

officer,'* unless the requirement to remove structures or improvements is

otherwise waived in writing or in the authorization. If the holder fails to

remove the structures or improvements within a reasonable period, as

determined by the authorized officer, they shall become the property of the

United States, but holder shall remain liable for the costs of removal and
restoration.

36 C.F.R. §251.60(h)(2)(i)(emphasis added).

 

13 Moreover, the Court notes that the failure the Defenders identify here on the part of USFS is to
enforce the terms of an expired permit, not the failure to issue a new permit. See, e.g. Doc. 1, f
49 (“The [1994] Permit does not provide for renewal, and because the permit expired and was
not timely reapplied for before its expiration, the USFS lacks the discretionary authority to renew
and/or reissue a new permit.”) (citing 36 CFR § 251.56(b)(1), 64). Thus, it is questionable as to
whether §1765(a)(1) provides guidance as to the failure to enforce the 1994 Permit at all.

'4 According to the terms of the 1994 Permit, the authorized officer is the Forest Supervisor of
the USFS, or a subordinate officer so delegated. (Doc. 1, Exhibit A).

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Plainly, § 251.60(h)(2)() pointedly and specifically leaves the removal of “structures and
improvements” by a holder of a special use authorization that has been revoked a terminated to
the discretion of the “authorized officer.” Thus, the regulations leave room and flexibility for
USFS to determine how to deal with its permit holders in light of the complexities inherent in
that determination.!>

The Court turns its attention to the verbiage of the 1994 Permit itself. It provides in part:

IV. Liability
B. Damage to Property of the United States

1. The holder shall compensate in full the United States for
damages occurring under the terms of this permit or under any law
or regulation applicable to the National Forests. The holder shall
be liable for all injury, loss, or damage, including fire suppression,
or other costs associated with rehabilitation or restoration of
natural resources, associated with the holder’s use or occupancy.
Compensation shall include, but is not limited to, the value of
resources damaged or destroyed, the costs of restoration, cleanup,
or other mitigation, fire suppression or other types of abatement
costs, and all administrative, legal (including attorney fees), and
other costs in connection therewith.

V. Termination, Revocation, and Suspension

D. Removal of Improvements. Upon abandonment, revocation,
termination, or expiration of this authorization, the holder shall
remove within a reasonable time prescribed by the authorized
officer all structures and improvements, except those owned by the
United States, and shall restore the site. If the holder fails to
remove all structures or improvements within the prescribed
period, they shall become property of the United States and may be
sold, destroyed or otherwise disposed of without any liability to the

 

'5 Other sections of the regulations at issue make the discretionary nature of policies surrounding
permit issues clear. See, e.g. Renewals, 29 Fed. Proc., L. Ed. § 66:576 (citing § 251.64(b) for the
proposition that “when a special use authorization does not provide for renewal, it is
discretionary with the authorized officer, upon request from the holder and prior to its expiration,
whether or not the authorization will be renewed.”).

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United States. However, the holder shall remain liable for all cost
associated with their removal, including cost of sale,
impoundment, cleanup, and restoration of the site.

(Doc. 1, Exhibit A).

The terms of the 1994 Permit outline the responsibilities of the holder of the permit to the
USFS, not the enforcement responsibilities of the USFS. The 1994 Permit “furnish[es] no
meaningful standard” by which to judge USFS enforcement decision. Dep 't of Commerce, 139
S.Ct. at 2568.

The fact that the USFS denied Plaintiffs Little and Kaster’s Petition for Rulemaking,
made, in essence, to require USFS to take enforcement action, does not require a different result.
See Conservancy of Sw Fla., 677 F.3d 1073 (holding an APA challenge to an agency’s denial of
petitions was not subject to judicial review pursuant to § 701(a)(2)).
| IV. MOTION TO STRIKE

Defenders included a Motion to Strike the lodging of the Amended Administrative
Record of this matter in their Response in Opposition to the Motion to Dismiss (Doc. 28). For all
of the reasons succinctly set forth by USF S in its Response to Plaintiff's Motion to Strike, the
Court is not persuaded striking the Amended Administrative Record would be proper in this
matter. (Doc. 30, pgs. 1-3).

Vv. CONCLUSION

The Court holds enforcement action or inaction by USFS regarding the 1994 Permit and
USFS’ decision on the related Petition for Rulemaking is committed to the discretion of USFS,
not subject to judicial review. The exception provided by 5 U.S.C. § 701(a)(2) is indeed a narrow
one; but it is applicable to this matter. The Court is without jurisdiction.

ACCORDINGLY, it is ORDERED:

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1. “Federal Defendant’s Motion to Dismiss and Associated Memorandum of Law”
(Doc. 25) is GRANTED;

2. Defenders’ “Motion to Strike the Amended Administrative Record” (Doc. 28, in part)
is DENIED;

3. Defender’s Complaint (Doc. 1) is DISMISSED with prejudice;

4. The Clerk is directed to terminate all pending motions and close this case.

DONE AND ORDERED at Jacksonville, Florida, this Soy day of September, 2019.

Copies to:
Jane West, Esq.
Hayley Carpenter, Esq., USDOJ

 

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